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                 EXHIBIT B-122
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                                                                                    FILED IN OFFICE



                     IN THE SUPERIOR COURT OF FULTON COUNT
                                 STATE OF GEORGIA

INRE:                                          )       CASE NO.
SPECIAL PURPOSE GRAND JURY                     )       2022-EX-000024
                                               )
---------------.)

                        MOTION FOR LEA VE TO FILE UNDER SEAL

         COMES NOW Governor Brian P. Kemp, through undersigned counsel, and respectfully

moves this Court for leave to file a subsequent motion under seal pw-suant to Uniform Superior

Court Rule 21.1 in the above-captioned matter. The undersign submits that the subsequent filing

contains information sensitive to the Special Purpose Grand Jury's ongoing investigation. The

secrecy of grand jury proceedings is well established under Georgia law. See In re Gwinnett Cnty.

Grand Jury, 284 Ga. 510, 512-13 (2008). The interests in protecting the secrecy of grand jury

proceedings and the integrity of the Special Purpose Grand Jury's ongoing investigation clearly

outweigh the public interest in disclosure. For these same reasons, counsel would also respectfully

request that any subsequent response, related filing, or order of the Court related to the filing also

be sealed in their entirety.

         The District Attorney's Office does not oppose Governor Kemp's filing of the subsequent

motion under seal. A proposed order is attached for the Court's convenience.

         Respectfully submitted this 14th day of November, 2022.

                                              Isl Christopher M Carr
                                              CHRISTOPHER M. CARR
                                              Attorney General
                                              Georgia Bar No. 112505

                                              Isl Brian F. McEvoy
                                              BRIAN F. MCEVOY
                                              Special Assistant Attorney General
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                                              Atlanta, GA 30309
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                             Georgia Bar No. 490845

                             Counsel for Governor Brian P. Kemp




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                  IN THE SUPERIOR COURT OF FULTON COUNTY
                              STATE OF GEORGIA

INRE:                                      )        CASE NO.
SPECIAL PURPOSE GRAND JURY                 )        2022-EX-000024
                                           )


                               CERTIFICATE OF SERVICE

       This is to certify that I have filed the foregoing GOVERNOR BRIAN P. KEMP'S

MOTION FOR LEA VE TO FILE UNDER SEAL with the Clerk of the Superior Court of

Fulton County. Courtesy copies have also been provided to the Court and counsel of record.

       This 14th day of November, 2022.



                                               Isl Brian F. McEvoy
                                                Attorney for Governor Brian P. Kemp
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                    IN THE SUPERIOR COURT OF FULTON COUNTY
                                STATE OF GEORGIA

INRE:                                         )        CASE NO.
SPECIAL PURPOSE GRAND JURY '                  )        2022-EX-000024
                                              )


  (PROPOSED) ORDER GRANTING MOTION FOR LEAVE TO FILE UNDER SEAL

       Pending before this Court is Governor Brian Kemp's Motion for Leave to File Under Seal.

Having reviewed the Motion and finding good cause therein, the Motion is GRANTED. The Court

finds that the compelling interests in protecting the secrecy of grand jury proceedings and in

protecting the ongoing investigation into possible criminal electoral interference are sufficient to

justify sealing the subsequent filing. See In re Gwinnett Cnty. Grand Jury, 284 Ga. 510, 512-13

(2008); United States v. Valenti, 987 F.2d 708, 714 (11th Cir. 1993). The Court additionally finds

that the subsequent filing-containing    sensitive, non-public investigative information-is    "not

subject to disclosure under [Uniform Superior Court Rule] 21 because [it does] not fall within that

which USCR 21 embodies: [it is] not [a] court record[] to which the public and press in Georgia

have traditionally enjoyed access." In re Gwinnett Cnty. Grand Jury, 284 Ga. at 512.

       The Clerk is directed to file the requested document under seal.

       SO ORDERED this_          day of _____            _,   2022.




                                                  Judge Robert C.I. McBurney
                                                  Superior Court of Fulton County
                                                  Atlanta Judicial Circuit




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